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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                            *     JAN 2 6,]«k       ~')k> (i ~
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 SLOBODAN KARIC, CLARIBEL                                                BROOKLYN OFFICE              I
 GARCIA, STEVEN JONES,
 LJUBOMIR ZIV ANOVIC, DANIEL                               MEMORANDUM & ORDER
 COLON, WILLIAM CHATMAN, and
 GORAN STANIC, on behalf of                                  09 Civ. 5708 (ENV) (CLP)
 themselves and all others similarly
 situated,

                           Plaintiffs,

                 -against-

 THE MAJOR AUTOMOTIVE
 COMPANIES, INC., MAJOR
 UNIVERSE, INC., d/b/a Major World
 Ford Lincoln Mercury, MAJOR
 CHEVROLET GEO, MAJOR
 CHEVROLET, INC., MAJOR
 CHYRSLER JEEP DODGE, INC.,
 MAJOR MOTORS OF LONG ISLAN
 CITY, INC., d/b/a Major Kia, MAJOR
 MOTORS OF THE FIVE TOWNS,
 INC., MAJOR AUTOMOTIVE
 REALTY CORP., HAROLD
 BEND ELL, BRUCE BENDELL, and
 CHRIS ORSARIS,

                           Defendants.
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 VITALIANO, D.J.

         Plaintiffs brought this action alleging that defendants violated the Fair Labor Standards

 Act ("FLSA"), 29 U.S.C. § 201 et seq., and the New York Labor Law ("NYLL"), N.Y. Lab. Law

 § 650 et seq., by failing to, inter alia, pay plaintiffs and similarly situated sales representatives

 the proper minimum wage and premium overtime wages. Plaintiffs now move for (1)

 preliminary judicial approval of a proposed settlement concerning the NYLL claims, which are




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 the sole remaining claims in this litigation, 1 (2) conditional certification of the settlement class,

 (3) appointment of plaintiffs' counsel, Fitapelli & Schaffer, LLP, as class counsel, (4) approval

 of the Notice of Proposed Class Action Settlement and Claim Form and Release to be mailed to

 class members, and (5) approval of plaintiffs' proposed schedule for providing notice and

 seeking final settlement approval. (Pl. Mot., ECF No. 229). Defendants do not oppose the

 motion, nor do they oppose conditional certification for purposes of settlement only. (Pl. Mem.

 at 8, 19, ECF No. 230). The motion was referred to Magistrate Judge Cheryl L. Pollak, who

 issued her Report and Recommendation (the "R&R") on December 22, 2015. (R&R, ECF No.

 233).

                                                Analysis

         In reviewing a report and recommendation of a magistrate judge, a district court "may

 accept, reject, or modify, in whole or in part, the findings or recommendations made by the

 magistrate judge." 28 U.S.C. § 636(b)(l). Further, a district judge is required to "determine de

 novo any part of the magistrate judge's disposition that has been properly objected to." Fed. R.

 Civ. P. 72(b)(3); see Arista Records, LLC v. Doe 3, 604 F.3d 110, 116 (2d Cir. 2010). But,

 where no timely objection has been made, the "district court need only satisfy itself that there is

 no clear error on the face of the record" to accept a magistrate judge's report and

 recommendation, and "may adopt those portions of the [r]eport ... which are not factually




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   On March 12, 2014, plaintiffs accepted an offer of judgment, see Fed. R. Civ. P. 68, accounting
 for the full amount of damages owed to the named and opt-in plaintiffs on their FLSA claims.
 (Notice of Acceptance, ECF No. 211 ). By Memorandum and Order, dated April 16, 2014, the
 Court granted plaintiffs' motion for summary judgment as to their remaining NYLL claims.
 (Mem. & Order, ECF No. 212). Thereafter, the parties, with the help of a mediator, negotiated a
 settlement agreement to resolve the NYLL claims.


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 erroneous." Price v. City ofNew York, 797 F.Supp.2d 219, 223 (E.D.N.Y. 2011) (citations and

internal quotation marks omitted).

         In this instance, no objections have been filed, and the time to do so has passed. After

careful review of the record, the Court finds the R&R to be correct, well-reasoned, thorough, and

free of any clear error. The Court, therefore, adopts the R&R in its entirety as the opinion of the

Court.

         In an abundance of caution, though, the Court will also require the parties to amend the

proposed Claim Form and Release at page 34 ofECF No. 231-1 with respect to the second

paragraph, which begins, "My signature below constitutes a full and complete release and

discharge ... " will instead read, "Effective final judicial approval of the proposed settlement

agreement, my signature below will constitute a full and complete release and discharge .... "

This revision will conform the release to the proposed settlement, which states that should the

parties fail to obtain final judicial approval, "[t]he Litigation will proceed as if no settlement had

been attempted." (Proposed Settlement, ECF No. 231-1 ).

         In addition, the anticipated fairness hearing and motion for final settlement approval will

be respectfully referred to Magistrate Judge Pollak for report and recommendation. The parties

are to promptly request a date for the fairness hearing, so that this scheduling information may be

included in§ 14 of the Notice of Proposed Class Action Settlement. (Proposed Settlement at 32,

ECF No. 231-1).

                                             Conclusion

         For the reasons set forth above, the report and recommendation, dated December 22,

2015, of Magistrate Judge Cheryl L. Pollak, is adopted in its entirety, and plaintiffs' motion for

preliminary judicial approval of the settlement is granted in all respects except as to the notice of




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 claims, which is modified by this Order. Further, this matter is respectfully referred to

 Magistrate Judge Pollak to conduct the fairness hearing and to make a report and

 recommendation as to her findings concerning plaintiffs' motion for final settlement approval.

        So Ordered.

 Dated: Brooklyn, New York
        January 25, 2016                                                                                <

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                                                            United States District Judge




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